                            IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS

FERRELL COMPANIES, INC., as Plan              )
Sponsor and Plan Administrator of the         )   Case No. 2:19-CV-2656-JAR-ADM
Ferrell Companies, Inc., Employee Stock       )
Ownership Plan,                               )
                                              )
                    Plaintiff,                )
                                              )
        v.                                    )
                                              )
GREATBANC TRUST COMPANY,                      )
Directed Trustee of the Ferrell Companies,    )
Inc. Employee Stock Ownership Trust,          )
                    Defendant.                )
                                              )
GREATBANC TRUST COMPANY,                      )
Trustee of the Ferrell Companies, Inc.        )
Employee Stock Ownership Trust,               )
                                              )
                    Counterclaim-Plaintiff,   )
                                              )
        v.                                    )
                                              )
FERRELL COMPANIES, INC., as Plan              )
Sponsor and Plan Administrator of the         )
Ferrell Companies, Inc., Employee Stock       )
Ownership Plan,                               )
                    Counterclaim-Defendant.   )
                                              )

     BRIEF IN SUPPORT OF GREATBANC TRUST COMPANY’S MOTION FOR A
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION




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        Defendant/Counterclaim-Plaintiff GreatBanc Trust Company (“GreatBanc”) respectfully

submits this memorandum of law in support of its motion for a temporary restraining order and

preliminary injunction.

                                  PRELIMINARY STATEMENT

        At stake in this litigation – and on this motion – are the long-term benefits of thousands of

participants and beneficiaries of the Ferrell Companies, Inc. Employee Stock Ownership Plan (the

“Plan”), which Plaintiff/Counterclaim-Defendant Ferrell Companies, Inc. (“Ferrell” or the

“Company”) – the Plan Administrator under ERISA and its primary fiduciary – has put at

imminent risk of permanent and total loss.

        The Plan’s primary asset is 100% of Ferrell’s stock. Ferrell owns 100% of Ferrellgas Inc.

(“FGI”), and Ferrell and FGI together own roughly 25% of Ferrellgas Partners, L.P. (“Ferrellgas”),

a publicly-traded master limited partnership run by FGI as general partner that accounts for most

of the Company’s value.1 The Ferrell stock is held in the Ferrell Companies, Inc. Employee Stock

Ownership Trust (the “Trust”), which forms a part of the Plan and for which GreatBanc has served

as Trustee and ERISA fiduciary for well over a decade.

        Over the past two years, under the direction of Jim Ferrell (son of the Company’s founder),

Ferrell’s board of directors (the “Board”) has presided over a disastrous decline in the value of

Ferrell and Ferrellgas and no viable recovery plan has been forthcoming. Then, on October 15,

2019, GreatBanc, Plan participants and the world learned for the first time from Ferrellgas’s SEC

Form 10-K that one of its primary lenders had declared an event of default, accelerating $275




  1
    FGI’s board of directors serves as the board of Ferrellgas. Ferrellgas is listed on the NYSE and is one
of the three largest propane distributors in the country. See 2016 Retailer Rankings, LPGas Magazine
(February 2016), available at https://www.coleoilandpropane.com/wp-content/uploads/2016/02/LP-Gas-
February-2016-Top-50-Propane-Retailers.pdf.

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million in principal, and the auditors of its operating subsidiary had expressed substantial doubt as

to its ability to continue as a going concern. In other words, Plan participants and beneficiaries

are on the cusp of losing their retirement.

          Meanwhile, GreatBanc, as Trustee and an ERISA fiduciary of the Plan, has consistently

attempted to fulfill its fiduciary duties and preserve and protect the value of the Plan’s assets by

requesting baseline information from the Company regarding its financial performance and future

plans and acting as a conduit for various of the Company’s constituencies and outside parties –

ranging from employees to investment bankers to potential outside investors – who, anxious to

stop the bleeding, have approached GreatBanc unsolicited in the hope that it could penetrate the

virtual “star chamber” that the Board has become. All of those efforts were summarily rebuffed.

          Until recently, Ferrell and the Board were content to simply reject or ignore GreatBanc’s

repeated requests for information (or even a meeting) and to stiff-arm the various suggestions and

opportunities for salvaging the Company that GreatBanc dutifully passed along. Eventually,

however, Ferrell realized that GreatBanc – apparently the only fiduciary willing to act to protect

the value of the Plan’s assets – would not be content to sit idly by and allow the Board to fiddle

while Ferrellgas burned. Sensing that their positions as directors might be at risk, the Board moved

preemptively to entrench itself and maintain its death-grip on the Company.

          First, the Company failed to hold the required annual election of directors, which,

according to Ferrell’s bylaws, is to occur in August of every year.2 Then, it amended the Plan

documents to provide that GreatBanc would now be “directed” by Ferrell with respect to voting

the Company’s shares in connection with the election of directors, notwithstanding that GreatBanc

had never been directed with respect to any director election in the past. Finally, when it became


  2
      To this day, there has been no 2019 election of directors.

                                                        2
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apparent to Ferrell and the Board that the “jig was up” and Ferrellgas would have to publicly

disclose that the creditors of its operating sub had declared a default, the Company, realizing the

Board’s days might otherwise be numbered, took the precipitous step of terminating GreatBanc as

Trustee, just six days before Ferrellgas’s damning SEC filing.

        Unfortunately for the Board, and luckily for the Plan participants and beneficiaries, the

trust agreement expressly provides that termination of a trustee is not effective for 30 days.

Ferrell’s action, however, put GreatBanc on the horns of a dilemma. At perhaps the most

precarious moment in the Company’s corporate existence, GreatBanc would only remain as

fiduciary to protect the participants’ interests for the next 30 days – until November 8, 2019, to be

exact. Could GreatBanc, consistent with its fiduciary duties, simply hand things off to its successor

and wash its hands of the situation? Suspiciously, Ferrell has chosen to replace GreatBanc with a

solo practitioner as interim trustee.     Even if an institution with resources comparable to

GreatBanc’s had been appointed, delaying action long enough to allow for an effective transition

and information download to the interim trustee could prove fatal. On the other hand, particularly

with “lame duck” status foisted on it by Ferrell, GreatBanc was loath to go public with its bill of

particulars and risk further destabilizing the situation at Ferrellgas. So, under the untenable

circumstances manufactured by Ferrell and the Board, what could GreatBanc do? With extreme

reluctance, it concluded that Ferrell had left it with no choice: under ERISA, it could – indeed, it

must – take precisely the step that Ferrell and the Board had been maneuvering to forestall.

        Against the day when such dramatic measures might become unavoidable, GreatBanc had

previously identified an impeccably credentialed slate of individuals with extensive industry

experience and contacts, as well as knowledge of Ferrell and its business, who were both willing

to serve and ready to step in immediately as directors of the Company and begin the process of



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trying to right the ship on “Day One.” Accordingly, consistent with the Plan documents and its

fiduciary duty of prudence under ERISA, on October 23, 2019, GreatBanc requested a direction

from Ferrell, as Plan Administrator (the “Request”), to replace the Board with its proposed slate

(“New Board”). Electing a board of directors is an annual requirement each August, as provided

in the Company’s bylaws – but since Ferrell failed to take this required action, GreatBanc had a

duty to do it itself.

        Ferrell’s response was clear, unmistakable and left little doubt that neither the Plan

Administrator nor the Board has any regard for the Plan participants and beneficiaries, preservation

of the value of Plan assets, the interests of Ferrellgas’s public unitholders or any other constituency

apart from themselves. Without any communication to GreatBanc following the Request, or

warning of any kind, Ferrell chose to launch a desperate preemptive strike by publicly filing this

lawsuit and asserting baseless allegations that it knew full well would cast a further cloud of

uncertainty over the Company at a time when it can least afford it.

        For its part, GreatBanc declines to respond in kind.          Ferrell’s actions, ERISA, the

Company’s articles and bylaws and applicable Kansas corporations law permit GreatBanc, as the

100% stockholder of Ferrell, to unilaterally and instantaneously replace the Board via written

consent right now. And what the Plan participants and beneficiaries for whom both GreatBanc

and Ferrell are ERISA fiduciaries need most at this moment in order to preserve any value and

avoid irreparable harm – and need exigently, before it’s too late – is a steady hand on the tiller at

Ferrell. Of almost equal importance, however, and inextricably intertwined with the need for

change, is the need for the immediate removal of the uncertainty that the Board’s irresponsible

leadership and actions (up to and including the filing of this lawsuit) have created.




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          Accordingly, before replacing the Board (and compounding the confusion over who’s in

charge created by Ferrell’s lawsuit, since the current Board would unquestionably challenge the

validity of that action), GreatBanc seeks, by this application, a preliminary injunction maintaining

GreatBanc’s status as Trustee until such time as the Court has had an opportunity to rule and, to

the extent necessary, GreatBanc has had an opportunity to implement any favorable decision. In

addition, in order to maintain the status quo and ensure the effectiveness of any relief this Court

might award, GreatBanc seeks a temporary restraining order maintaining GreatBanc’s status as

Trustee until the Court has an opportunity to rule on GreatBanc’s request for a preliminary

injunction.

                                             BACKGROUND

          A.        The Parties

          Ferrell, through its affiliates, engages in the marketing and sale of propane products.

Compl. ¶1.3

          GreatBanc is a company that specializes in serving as a fiduciary to employee stock

ownership plans, or “ESOPs,” which are retirement plans authorized under ERISA and the Internal

Revenue Code to hold shares of the employer’s stock for the benefit of plan participants. Verified

Answer, Defenses to Plaintiff’s Complaint and Counterclaims of GreatBanc Trust Company, filed

concurrently herewith (“Counterclaim”) ¶¶7, 13.

          For over thirteen years, GreatBanc has served as fiduciary and Trustee of the Plan (an

ESOP),4 the assets of which are held in the Trust for the benefit of Ferrell employees. Id. ¶¶2, 13-




  3
   References to “Compl. __” are to Ferrell’s “Complaint for Declaratory Judgement, Injunctive and Other
Relief” in this action filed on or about October 24, 2019.
  4
      A copy of the Plan is attached as Ex. A to the Complaint.

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14.5 The Trust is the sole shareholder of Ferrell, owning 100% of its stock. Id. ¶14. Ferrell serves

as Plan Administrator of the Plan and, on matters as to which GreatBanc is “directed” under the

Trust and the Plan, issues directions to GreatBanc that it generally must follow. Id. ¶15.

GreatBanc nonetheless owes fiduciary obligations, like Ferrell, to act in the Plan’s best interests.

Id. Specifically, GreatBanc has a duty of prudence in valuing and preserving Plan assets and,

consequently, in monitoring Ferrell’s financial health (including that of the publicly-traded master

limited partnership, Ferrellgas). Id. Moreover, as Ferrellgas expressly states in its SEC filings,

GreatBanc may, “[i]n all cases, … vote [Ferrell] shares as it determines is necessary to fulfill its

fiduciary duties under ERISA.” Counterclaims Ex. 1 (Ferrellgas Form 10-K, dated Oct. 15, 2019)

at 105; see Compl. Ex. A at 35.

          B.        Plan Asset Value Plummets

          Ferrell stock is the primary asset in the Plan’s portfolio, and the value of Ferrell is, in turn,

driven primarily by the value of the publicly-traded Ferrellgas partnership. That value has declined

dramatically under the stewardship of the Board. Counterclaim ¶16. Ferrellgas’s unit price has

been in freefall for the past several years. Id. ¶17. After hitting a high of $28 per unit in November

2014, Ferrellgas’s unit price commenced a steep, steady decline until late 2016, when it nosedived

to the mid-single digits, never to recover. Id. To the contrary, the units have continued to decline

in market value over the ensuing years, falling to $0.60 by late October of this year, and are at risk

of being delisted, having been valued below $1.00 for several of the past few months.6

Counterclaims Ex. 1 at 29. All in all, the public units have suffered a cataclysmic 98% decline.




  5
      A copy of the Trust document is attached as Ex. B to the Complaint.
  6
    See Ferrellgas Partners – 25 Year Stock Price History, MacroTrends (last visited Oct. 30, 2019),
https://www.macrotrends.net/stocks/charts/FGP/Ferrellgas-partners/stock-price-history.

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              Source: https://www.macrotrends.net/stocks/charts/FGP/ferrellgas-partners/stock-price-history

        Then, on October 15, Ferrellgas publicly disclosed that TPG Specialty Lending, Inc.

(“TPG”) had taken the position that Ferrellgas’s operating partnership had defaulted on a senior

secured term loan, immediately accelerating $275 million in principal debt. Id. at 52-53. Further,

the auditors of Ferrellgas’s operating partnership expressed substantial doubt as to the operating

partnership’s ability to continue as a going concern. Id. at 53. More broadly, Ferrell and its related

companies are saddled with about $2.2 billion in debt. Id. at 24.

        The risk factors listed in Ferrellgas’s Form 10-K for fiscal year 2019 recognize that

Ferrellgas’s “substantial indebtedness and other financial obligations could have important

consequences to [Ferrellgas’s] security holders.” Id. at 25. Some of these “consequences” include:

“mak[ing] it more difficult for us to satisfy our obligations with respect to our securities,”

“impair[ing] our ability to obtain additional financing in the future for working capital, capital

expenditures, acquisitions, general corporate purposes or other purposes,” “result[ing] in higher

interest expense,” “impair[ing] our operating capacity and cash flows,” and “plac[ing] us at a

competitive disadvantage compared to our competitors that have proportionately less debt.” Id.

        On October 16, 2019, the day after the Ferrellgas 10-K filing, Standard & Poors

downgraded Ferrellgas’s credit rating to CCC-, recognizing the perilous situation that has been




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obvious to GreatBanc for some time and noting that a default on Ferrellgas’s debt is a “virtual

certainty.”7 Counterclaim ¶22.

        C.          Ferrell Refuses To Act And Rebuffs GreatBanc’s Attempts To Help It Right
                    The Ship – All To The Detriment Of Plan Beneficiaries

        Despite Ferrellgas’s exceedingly poor performance and the attendant risk to Plan assets

and Plan participants and beneficiaries, the Board did absolutely nothing to reverse course. Worse

yet, it actively opposed GreatBanc’s repeated proposals, guided by its ERISA duty of prudence, to

help salvage the Company (and the Plan’s investment in it). For example, in November 2018,

GreatBanc was contacted by members of Ferrell’s senior management who expressed concerns

about the Board’s leadership, believing that Ferrell was being pushed toward bankruptcy and

playing a “dangerous game” with bondholders. Counterclaims Ex. 3 (Letter from GreatBanc to

Ferrell, dated Oct. 23, 2019) at 2. After voicing their concerns, these individuals were removed

from Ferrell. Id.

        Next, in December 2018, senior officers of GreatBanc met with the Board to discuss

management’s concerns and Ferrell’s future plans. Id. The Board admitted that Ferrell has too

much debt and assured GreatBanc that it was working to address the problem. Id. But since that

meeting, the Board has failed to identify a single solution and Ferrellgas’s unit price has virtually

flat-lined. Counterclaim ¶ 26.

        In July of this year, GreatBanc notified Ferrell of a potential solution to its financial

problems in the form of a recapitalization proposal from an experienced and reputable private

equity firm, which had approached GreatBanc unsolicited. Counterclaims Ex. 3 at 2. GreatBanc




  7
    See Allison McNeely, Lender Spat Could Push Barbecue Fuel Retailer into Debt Restructuring,
Bloomberg (Oct. 18, 2019), https://www.bloombergquint.com/business/tpg-lending-squeezes-company-
that-lights-up-backyard-barbecues.

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suggested that the Board form a special committee to consider the proposal and any other proposals

it had received. Id. Later that month, the Board informed GreatBanc that it would not form a

special committee and refused, without explanation, to evaluate the proposal. Id. In September,

after GreatBanc requested further dialogue and collaboration in strategic planning, the Board

reiterated that it was not interested and instructed GreatBanc not to take any further steps vis-à-vis

the private equity firm that had made the proposal. Id.

          Clearly, GreatBanc’s efforts to fulfill its fiduciary duties to the Plan did not suit Ferrell. In

late July, GreatBanc received a letter from Ferrell’s attorneys providing vague assurances

regarding the Company’s “long-term strategic objectives” (with no details), reminding GreatBanc

that it was a “directed” trustee and notifying it of the adoption of a newly minted amendment to

the Plan intended to limit GreatBanc’s voting rights with respect to Ferrell stock.8                   Id.;

Counterclaim ¶29. But GreatBanc continued to be contacted by third-parties, including an overture

over the summer from certain investment bankers and financial advisors who expressed interest in

working with Ferrell to develop solutions to Ferrell’s problems. Counterclaims Ex. 3 at 2. When

GreatBanc asked if they had approached Ferrell directly, it was told that they could “not get past

Jim Ferrell.” Id.

          Throughout the past year, in furtherance of its ERISA duties to protect and preserve the

value of Plan assets, GreatBanc has repeatedly requested additional information from Ferrell

concerning its long-term objectives, and encouraged expansion of or changes to Ferrell’s Board to

add independent directors with turnaround or restructuring experience. Id. The Board has rebuffed

GreatBanc’s efforts at every turn, informing GreatBanc that no additional independent directors

were necessary. Id.



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      A copy of the amendment is appended to Ex. A to the Complaint.

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         D.         Ferrell Purports To Terminate GreatBanc’s Trusteeship

         In September 2019, still working to monitor and preserve Plan assets, GreatBanc requested

a meeting with the Board to understand its objectives and why it had concluded that the rejected

proposals were not worth pursuing. Id. at 3. But the Board was finished communicating (to the

extent it ever really had). The next thing GreatBanc heard from Ferrell was that, true to its pattern

of mismanagement and breach of its ERISA fiduciary duties, it was terminating GreatBanc as

Trustee of the ESOP, effective November 8, 2019. Id.; Compl. Ex. C.

         The grim revelations in the Ferrellgas 10-K discussed above became public just a few days

later.

         E.         GreatBanc Acts To Save Plan Assets

         This left GreatBanc with virtually no choice. With the Company in extremis, GreatBanc

still owing full fiduciary duties for the next 30 days, and no time to sufficiently debrief the

incoming interim trustee, GreatBanc wrote to inform Ferrell that it had breached its duties to the

Plan by refusing to provide GreatBanc with the information it needed to monitor the value of

Ferrell’s shares, by refusing to provide GreatBanc with information concerning strategies or plans

for addressing the financial peril in which the Company had put the Plan assets, and by refusing

even to consider viable strategic alternatives that had been presented to and conveyed by

GreatBanc to maximize Plan value. Counterclaims Ex. 3 at 3. Finally, compelled by its fiduciary

duties as Trustee of the ESOP, GreatBanc made the Request, asking that Ferrell, as Plan

Administrator, provide GreatBanc with direction to elect the New Board. Id.

         GreatBanc did so notwithstanding that, given the untenable situation Ferrell had created,

as Trustee and 100% owner of Ferrell shares, GreatBanc’s ERISA fiduciary duties, the Company’s

constituent documents and applicable Kansas corporations law would have permitted more drastic

action. Out of concern for the potential for additional instability that a public row might cause,

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however, GreatBanc refrained. Counterclaim ¶50. The next day, heedless of any such concerns,

Ferrell filed this lawsuit.9

        GreatBanc’s hand has now been forced. To protect the Plan participants and fulfill its

ERISA fiduciary duties, GreatBanc must act to replace the current Board, which has made no effort

to stem (let alone reverse) the decline in value of Plan assets, and has in fact stood as a roadblock

to any positive change. For the reasons set forth below, this Court should keep GreatBanc installed

as Trustee.

                                     PROCEDURAL HISTORY

        Ferrell filed the Complaint on or about October 24, 2019. GreatBanc is filing its Verified

Answer and Defenses to Plaintiff’s Complaint and Counterclaims (“Counterclaims”) concurrently

herewith.

                                             ARGUMENT

        A party seeking a preliminary injunction “must demonstrate four factors: (1) a likelihood

of success on the merits; (2) a likelihood that the movant will suffer irreparable harm in the absence

of preliminary relief; (3) that the balance of equities tips in the movant’s favor; and (4) that the

injunction is in the public interest.” RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1208 (10th Cir.

2009). If the injunction sought is mandatory, the movant must “make a heightened showing of the

four factors.” Id. at 1209. As demonstrated below, GreatBanc has made the required showing for

the injunctions it seeks.




  9
    This suit has inevitably landed in the headlines, causing Ferrellgas stock price to fall to $0.51 as of
October 30, 2019. See Ferrellgas Partners – 25 Year Stock Price History, MacroTrends (last visited Oct.
30, 2019), https://www.macrotrends.net/stocks/charts/FGP/Ferrellgas-partners/stock-price-history; James
Dornbrook, New lawsuit sheds light on power struggle between Ferrellgas management, ESOP trustee
(Oct. 25, 2019), https://www.bizjournals.com/kansascity/news/2019/10/25/new-lawsuit-sheds-light-on-
power-struggle-between.html.

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I.        GREATBANC WILL LIKELY SUCCEED ON THE MERITS OF ITS CLAIMS

          A.        GreatBanc Is An ERISA Trustee That Acted Pursuant To Its Fiduciary
                    Duties In Issuing The Request, And Ferrell Violated Its Fiduciary Duties By
                    Failing To Comply

          GreatBanc is entitled – indeed, obligated – to act without direction to remove the Board.

As Trustee of the ESOP, GreatBanc is a fiduciary under ERISA Section 404 and faces the risk of

liability for breach of its fiduciary duties – regardless of whether it is a “directed” trustee – if it

fails to act under certain circumstances.             See Hurtado v. Rainbow Disposal Co., No.

817CV01605JLSDFM, 2018 WL 3372752, at *12 (C.D. Cal. July 9, 2018). Indeed, even where,

as here, the Plan prohibits certain action by the trustee without a direction from the plan

administrator, “a ‘directed trustee’ is still subject to a duty of prudence,” pursuant to which it “can

disobey the named fiduciary’s directions when it is plain that they are imprudent.” Id. at *12

(citations and quotations omitted); see also In re Sprint Corp. ERISA Litig., 388 F. Supp. 2d 1207,

1237 (D. Kan. 2004) (“a directed trustee is relieved of liability only if it follows fiduciary directives

that are proper and consistent with the plan as well as ERISA”).10

          Moreover, it is no answer to suggest that GreatBanc’s fiduciary duties somehow remain

dormant until the plan administrator issues an express direction. GreatBanc’s duty of prudence

requires it “to attempt to remedy known breaches of duty by other fiduciaries[.]” In re WorldCom,

Inc. ERISA Litig., 263 F. Supp. 2d 745, 762 (S.D.N.Y. 2003) (quoting FirsTier Bank, N.A. v. Zeller,




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     While GreatBanc’s duties with respect to the investment of Plan assets are circumscribed, “it is
undisputed that [a directed trustee] deals with plan assets. [It] is responsible for maintaining custody of the
assets held in the Trust Fund, for investing those assets as directed by [the Plan Administrator], and for
making distributions to payees as directed by the Plan Administrator.” Bremer Tr., N.A. v. Quality
Ingredients Corp., No. CV 15-3002 (MJD/BRT), 2015 WL 9412969 (D. Minn. Oct. 30, 2015), report and
recom. adopted sub nom. Bremer Tr., N.A v. Quality Ingredients Corp., No. 15-3002 (MJD/BRT), 2015
WL 9412526 (D. Minn. Dec. 22, 2015) (quotations omitted).

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16 F.3d 907, 911 (8th Cir. 1994)). That is precisely what it is seeking to do here. Ferrell’s breaches

of its ERISA fiduciary duties here are well-catalogued and must be remedied.

        Additionally, it is well-established that where a trustee (i) seeks a direction from the

administrator and (ii) announces the consequences of a non-response, “non-responses suffice as

guidance, or directions, to the trustee. Indeed, the black letter law of trusts requires the trustee to

follow the [administrator’s] silent directions[.]” Herman v. NationsBank Tr. Co., (Georgia), 126

F.3d 1354, 1370 (11th Cir. 1997). That is precisely what happened here: by not responding to

GreatBanc’s request for direction to replace the Board – and instead filing this suit – Ferrell issued

a “silent direction” to GreatBanc not to remove the Board. GreatBanc could not abide by both this

direction and its duty to “remedy known breaches of duty by other fiduciaries,” and is thus

compelled to disobey the direction. See Perez v. Chimes D.C., Inc., No. CV RDB-15-3315, 2016

WL 6124679, at *4 (D. Md. Oct. 20, 2016) (“While a directed trustee should not be expected to

second-guess every direction of a plan administrator, it should disobey instructions that are plainly

imprudent”) (citations and quotations omitted).

        Moreover, GreatBanc’s fiduciary obligations under ERISA extend beyond – and are not

conditioned on – a “direction” from the plan administrator in the first instance. On the contrary,

GreatBanc’s duty of prudence compels it to act without direction if it believes that inaction would

constitute a breach of duty. Hurtado, 2018 WL 3372752, at *12 (fiduciary duty violation plausibly

alleged “by failing to act in the face of a self-dealing transaction”) (emphasis added); see Moench

v. Robertson, 62 F.3d 553, 567 (3d Cir. 1995), abrogated on other grounds by Fifth Third Bancorp

v. Dudenhoeffer, 573 U.S. 409 (2014) (“the common law of trusts … mandates that the [ESOP

directed] trustee in certain narrow instances must take actions at odds with how it is generally

directed to act”) (emphasis added).



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        Of particular note here, this Court (and others) have held that sufficiently dire financial

circumstances devaluing and threatening the viability of plan assets warrant a trustee taking

unilateral action to discontinue plan investment in company stock. In In re YRC Worldwide, Inc.

ERISA Litig., for example, this Court observed that “the Tenth Circuit permits a claim of

imprudence [against a trustee] based on investment in employer securities even if such investment

is required by the terms of the plan[.]” No. 09-2593-JWL, 2010 WL 4386903, at *2 (D. Kan. Oct.

29, 2010). Thus, where plaintiffs alleged that “the stock became practically worthless,” declining

from $25.96 per share in 2007 to $0.45 per share in 2010, and risked being “delisted from the stock

exchange,” the trustee “should have overridden the Plan’s terms and refused to offer the Company

stock fund as an investment option[.]” Id. at *2, 6; see also Dep’t of Labor Field Assistance

Bulletin No. 2004-03 (“where there are clear and compelling public indicators, as evidenced by an

8-K filing with the [SEC], a bankruptcy filing or similar public indicator, that call into serious

question a company’s viability as a going concern, the directed trustee may have a duty not to

follow the named fiduciary’s instruction without further inquiry.”); In re Delphi Corp. Sec.,

Derivative & ERISA Litig., 602 F. Supp. 2d 810, 825 (E.D. Mich. 2009) (same); In re WorldCom,

Inc. ERISA Litig., 354 F. Supp. 2d 423, 447 (S.D.N.Y. 2005) (same). Ferrell’s performance fits

that bill precisely.

        It is indisputable that Ferrell, its affiliates and thus the Plan, are in a dire situation. From

the outset, GreatBanc “had a duty to investigate the relevant facts and to explore alternative courses

of action[.]” Hurtado, 2018 WL 3372752, at *12 (citations and quotations omitted). It did exactly

that. As the Company steadily and precipitously declined, GreatBanc sought to monitor the Plan’s

assets – repeatedly requesting information from Ferrell about its strategy to turn the Company

around. Having been approached by several Ferrell and Plan constituencies – from Ferrell



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employees and management deeply concerned with the Company’s performance and strategic plan

to private equity firms interested in providing financing and/or restructuring assistance to the

Company – GreatBanc continually passed these communications on to Ferrell and requested

meetings to determine how it intended to proceed. Ferrell rebuffed each request and every

overture. Initially content to brush GreatBanc aside with vague assurances of a sound strategy,

Ferrell quickly shifted to outright rebuke – shrouding itself in a cone of silence and staunchly

refusing to even consider strategic opportunities and other potential solutions despite ever-

deteriorating financial conditions.

        Eventually, Ferrell set in motion a plan to entrench the Board and rid itself of GreatBanc,

whose continued requests for information, meetings, and explanations had apparently grown at

best tedious, and perhaps threating, to those mismanaging the Company. Ferrell abruptly amended

the Plan in late July 2019 to provide that GreatBanc would be directed in connection with voting

Ferrell stock. Meanwhile, the Company has simply failed ever to propose a slate of directors for

election in 2019, despite having done so each year prior, providing the slate to GreatBanc, who in

turn would vote the Trust’s shares by written consent without a specific direction. This failure to

hold a director election not only breaks from past precedent, it violates the Company’s Bylaws,

which require it to hold an annual meeting for the election of directors once a year on August 4.

See Bylaws §§4, 7(a). That date, too, came and went. To this day, there has been no annual

meeting or slate of directors proposed – other than the slate for the New Board proposed by

GreatBanc.

        When, in late September, GreatBanc sent yet another letter imploring the Company to

provide information about its financial health and strategic plan, Ferrell simply terminated

GreatBanc on 30 days’ notice. The timing cannot have been coincidental. Just one week later,



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Ferrellgas filed its 10-K revealing, as GreatBanc had feared, an even more precarious set of

financial circumstances: a creditor of the Ferrellgas operating partnership had taken the position

that the operating partnership was in default on a $275 million senior secured term loan and that

its:

                    consolidated financial statements … for the fiscal year ended July 31, 2019
                    … do not satisfy the requirements set forth in the financing agreement for
                    delivery of annual audited financial statements because the report of our
                    independent registered public accounting firm on such financial
                    statements includes an “explanatory paragraph” regarding substantial
                    doubt as to the operating partnership’s ability to continue as a going
                    concern.

Counterclaims Ex. 1 at 52-53 (emphasis added). Unsurprisingly, S&P downgraded them to CCC-

the next day.

        Ferrell’s pattern of imprudent decisions, mismanagement and nondisclosure had come to a

head, and GreatBanc could “not simply close its eyes and ignore what was there to be seen.” Perez,

2016 WL 6124679, at *4. Nor, given that its purported removal becomes effective on November

8, is it feasible to bring the interim trustee up to speed in time for him to take the necessary action

to stave off irreparable harm to the Plan and its participants and beneficiaries. Accordingly,

Ferrell’s systematic stonewalling and entrenchment maneuvers have caused GreatBanc to

conclude that it must take the action available to it under ERISA and as the Company’s sole

shareholder11 “to remedy known breaches of duty by other fiduciaries”: electing the New Board.

At this point, permitting the current Board to continue to run the Company would be imprudent.




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    Counterclaims Ex. 1 at 105 (“In all cases, the Trustee may vote [company] shares as it determines is
necessary to fulfill its fiduciary duties under ERISA.”)

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        B.          Acting As Ferrell’s Sole Shareholder, GreatBanc May Properly And
                    Lawfully Reconstitute Ferrell’s Board Of Directors By Written Consent

        As Ferrell’s sole shareholder, exercising its fiduciary duty to act without/contrary to

imprudent direction, GreatBanc clearly has the power to elect the New Board to replace the

existing Board by action on written consent.

        Section 5 of the Company’s Bylaws provides that “[s]pecial meetings of the stockholders

may be held for any purpose or purposes and may be called by … the holders of … not less than

one-fifth of all outstanding shares entitled to vote at any such meeting ….” Counterclaims Ex. 2

(Ferrell Bylaws) §5. Moreover, Section 19 of the Bylaws specifically provides that directors may

be removed at a special meeting by a majority of shareholders entitled to vote, and Section 18

provides that vacancies created by removal of directors are to be filled by successors “duly elected

at a stockholders meeting.” Id. §§ 18, 19.

        Under Kansas corporations law, unless a company’s articles of incorporation state

otherwise, “any action which may be taken at any annual or special meeting of [a corporation’s]

stockholders, may be taken without a meeting, without prior notice and without a vote, if a consent

or consents in writing, setting forth the action so taken, are signed by the holders of outstanding

stock.” K.S.A. §17-6518(a). Ferrell’s articles of incorporation do not provide otherwise.

        Accordingly, because GreatBanc, in its capacity as 100% shareholder of Ferrell, could

clearly call a special meeting at which it could remove the current Board and elect the New Board,

under §17-6518(a), it may do so on written consent.12




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     For the Court’s convenience, a draft written consent that would replace the Board with the New Board
is attached at Counterclaims Ex. 3 at 5.

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II.     THE PLAN, OF WHICH GREATBANC IS TRUSTEE, FACES IRREPARABLE
        HARM IN THE ABSENCE OF PRELIMINARY RELIEF

        A movant can demonstrate irreparable harm by showing “a significant risk that he or she

will experience harm that cannot be compensated after the fact by monetary damages” that “is

likely to occur before the district court rules on the merits.” RoDa Drilling Co., 552 F.3d at 1210

(internal quotations omitted). Courts have held that a depletion of assets from an ERISA plan is

an example of just such a risk. See, e.g., Johnson v. Couturier, 572 F.3d 1067, 1081 (9th Cir.

2009) (affirming preliminary injunction where plaintiff demonstrated that defendants would likely

be unable to reimburse the plan if its legal costs were advanced from the plan, thereby establishing

irreparable harm); Anthony v. Texaco, Inc., 803 F.2d 593, 596 (10th Cir. 1986) (affirming

preliminary injunction where district court found that plaintiffs “would be irreparably harmed if

the defendants were not financially able to meet their obligations” under an ERISA plan); Trustees

of the Plumbers Local Union No. 1 Welfare Fund v. Manhattan Plumbing Corp., No. 08-cv-3036

(FB)(RML), 2009 WL 212148, at *2 (E.D.N.Y. Jan. 28, 2009) (preliminarily enjoining the

disposition of employer’s assets where plaintiffs alleged employer failed to contribute to ERISA

fund and finding that depletion of employer’s assets constituted irreparable harm); Central States

v. Hester, No. 84-C-3516, 1984 U.S. Dist. LEXIS 15154, at *6 (N.D. Ill. July 6, 1984) (“[I]n the

context of ERISA, when contributing employers fail to make monthly contributions, a pension

fund suffers irreparable injury.”).

        Under the Board’s stewardship, the value of Plan assets has cratered. The unit value of

Ferrellgas, on which the Plan heavily depends for its value, has declined over 98% since late 2014,

and the units are now at risk of delisting. See supra p. 6. Compounding the problems, outsized

leverage – to the tune of $2.2 billion – has, inevitably, led to creditors declaring and threatening to

declare events of default with respect to loans at the Ferrellgas operating partnership level


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(including the acceleration of $275 million in principal), auditors expressing substantial doubt as

to the operating partnership’s ability to continue as a going concern and ratings downgrades. See

supra pp. 7-8.

        The Company’s only response has been to seek to limit GreatBanc’s authority, terminate

it as Trustee, refuse to issue the directions necessary for it to comply with its ERISA duties and

elect the New Board (who represent the last best chance for the Plan’s regrowth), and finally to

sue it. Judging from past actions (and inaction), there can be little doubt that the Board will

continue to preside over the deterioration of Plan assets. Absent the preliminary relief GreatBanc

seeks, the Plan will face imminent irreparable harm. The Plan’s assets are retirement benefits for

Ferrell’s employees, many of whom are at or approaching retirement age. Eroding the retirement

benefits these participants have earned, in some cases since the Plan was established in 1997, will

cause irreparable harm to these participants, their beneficiaries and their families.

III.    THE BALANCE OF EQUITIES TIPS IN GREATBANC’S FAVOR

        In issuing the Request, GreatBanc acted in its capacity as an ESOP trustee and ERISA

fiduciary.    Its only interest is (as it should be) for welfare of the Plan’s participants and

beneficiaries, and all of its actions are meant to improve the returns that they may receive in the

future. Ferrell, on the other hand, has attempted to entrench the Board, which has mismanaged the

Company to the severe detriment of Plan assets. It has alleged harm only in the most speculative

and conclusory fashion (unspecified risks of “destabilizing the business, interfering with customer

relationships [and] events of default” that “represent[] a direct, imminent and existential threat to

Ferrell and the Plan Participants” (Compl. ¶14)), when, in fact, any harm posed to Plan assets,

whether by “destabilization,” “events of default” or otherwise, is, as discussed at length above,

entirely of Ferrell’s making. The harm posed to the Plan, however, is real and imminent.



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        On balance, the risk to the Plan and its participants and beneficiaries absent an injunction

outweighs any risk to Ferrell in its capacity as Plan Administrator or the Board. See Trustees of

the Pipefitters & Plumbers Local 524 Pension & Annuity Plan v. Yannuzzi, Inc., No. CV 3:15-

2085, 2016 WL 4479394, at *5 (M.D. Pa. Aug. 25, 2016) (enjoining defendant’s violations of

ERISA fund agreements and refusing to “speculate as to the burdens the defendant will face if

required to comply with an order simply enforcing its pre-existing contractual obligations.”).

IV.     INJUNCTIVE RELIEF WILL SERVE THE PUBLIC INTEREST

        In much the same way that the balance of equities favors GreatBanc as the Plan’s trustee,

the requested injunctive relief will serve the public interest. A TRO keeping GreatBanc in place

as Trustee until it can elect and seat the New Board is the best (and, if history is any guide, the

only) hope for the growth of Plan assets, which is the overriding public interest at issue in this

litigation. See 29 U.S.C. §1001(a) (“The Congress finds that … employee benefit plans … are

affected with a national public interest ….”); Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 90 (1983)

(“ERISA is a comprehensive statute designed to promote the interests of employees and their

beneficiaries in employee benefit plans.”); Johnson, 572 F.3d at 1083 (“Defendants invoke the

public interest in ensuring that talented individuals remain willing to serve as corporate directors

and officers. But this concern, while significant, is far outweighed by the interests that ERISA

protects.”); Byrne v. Calastro, 205 F. App’x 10, 16-17 (3d Cir. 2006) (affirming preliminary

injunction and concurring with the District Court that “ERISA evinced a congressional

determination that employee benefit plans are in the national public interest and that there is a

public interest in ensuring honest management of [ERISA funds].”); Fechter v. HMW Indus., Inc.,

879 F.2d 1111, 1121 (3d Cir. 1989) (“public policy favors a preservation of the employee’s right

to benefits”); Central States, 1984 U.S. Dist. LEXIS 15154, at *7 (“It does not disserve the public



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interest to enforce the principles endorsed by Congress of promoting fiscal integrity of employee

benefit plans such as the Pension Fund involved in this litigation.”).

                                         CONCLUSION

        For the foregoing reasons, GreatBanc respectfully requests that the Court issue: (1) a

temporary restraining order, in the form submitted to the Court, maintaining GreatBanc’s status as

Trustee beyond November 8, 2019 until such time as the Court has had an opportunity to rule on

GreatBanc’s request for a preliminary injunction and (2) a preliminary injunction maintaining

GreatBanc’s status as Trustee until such time as the Court has had an opportunity to rule and, to

the extent necessary, GreatBanc has had an opportunity to implement any favorable decision.

 Dated: November 1, 2019
                                                      Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

        I certify that on November 1, 2019, the foregoing paper was served upon Counsel for

Plaintiff via the Court’s ECF system.

                                                       /s/ Todd W. Ruskamp
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